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 8                            IN THE UNITED STATES DISTRICT COURT

 9                        FOR THE WESTERN DISTRICT OF WASHINGTON

10                                          AT SEATTLE

11   THE COMPHY CO.,                               Case No. 2:18-cv-01460-RSM

12                             Plaintiff,          DECLARATION OF HAL PORET IN
                                                   SUPPORT OF OPPOSITION TO PLAINTIFF
13         v.                                      THE COMPHY CO.’S SECOND AMENDED
                                                   MOTION FOR PRELIMINARY
14   AMAZON.COM, INC.,                             INJUNCTION
15                             Defendant.          NOTE ON MOTION CALENDAR:
                                                   NOVEMBER 2, 2018
16
                                                   Suite: 13206
17                                                 Judge: Honorable Ricardo S. Martinez
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     DECLARATION OF HAL PORET./CASE NO. 2:18-CV-   Davis Wright Tremaine LLP, 1201 Third Avenue, Ste. 2200,
     01460-RSM                                          Seattle, WA 98101, 206-622-3150, Fax: 206 757-7700
Case 2:18-cv-01460-RSM Document 90 Filed 10/29/18 Page 2 of 73
             Case 2:18-cv-01460-RSM Document 90 Filed 10/29/18 Page 3 of 73




 1                                     CERTIFICATE OF SERVICE

 2           I hereby certify that on October 29, 2018, I electronically filed the foregoing with the Clerk

 3    of the Court using the CM/ECF system, which will send notification of such filing to those

 4    attorneys of record registered on the CM/ECF system. All other parties (if any) shall be served in

 5    accordance with the Federal Rules of Civil Procedure

 6           Dated this 29th day of October, 2018.

 7
                                                     /s/ Bonnie MacNaughton
 8                                                   Bonnie MacNaughton, WSBA #36110
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     CERTIFICATE OF SERVICE - 1
     CASE NO. 2:18-CV-01460-RSM
Case 2:18-cv-01460-RSM Document 90 Filed 10/29/18 Page 4 of 73




                 EXHIBIT 1
    Case 2:18-cv-01460-RSM Document 90 Filed 10/29/18 Page 5 of 73




       EXPERT REPORT OF HAL PORET IN MATTER OF
         THE COMPHY CO. V. AMAZON.COM, INC.

                   *******************************

SURVEYS TO ASSESS WHETHER THE TERMS COMPHY OR COMFY
          HAVE ACQUIRED SECONDARY MEANING
        IN CONNECTION WITH BEDDING PRODUCTS




                                                                PREPARED BY:
                                                                     Hal Poret
                                                     President, Hal Poret LLC
                                                              142 Hunter Ave
                                                     Sleepy Hollow, NY 10591


                                                                 October 2018




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THE FOLLOWING APPENDICES ARE PROVIDED SEPARATELY:
APPENDIX A: CURRICULUM VITAE OF STUDY’S AUTHOR
APPENDIX B: QUESTIONNAIRE
APPENDIX C: SCREENSHOTS OF SURVEY
APPENDIX D: SURVEY DATA FILE




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BACKGROUND AND PURPOSE

The Comphy Co. sells a variety of bedding products, including sheets, pillow cases,
pillows and blankets/comforters, among other bedding and linen items. The Comphy
Co. uses the term COMPHY in connection with its products, including through its
website at www.comphy.com.


The Comphy Co. has filed a lawsuit against Amazon.com, Inc. (Amazon) arising out of
Amazon’s presentation of listings for various bedding products in response to
consumer searches using the term COMPHY, some of which listings include use of the
term COMFY. The Comphy Co. alleges that it has rights in the mark COMPHY (as well
as other marks including the term COMPHY). It is also my understanding that
consumers sometimes use the misspelling COMFY with the intention of finding
products from The Comphy Co.


In connection with this lawsuit, counsel for Amazon has retained me to design and
conduct a study to determine whether the terms COMPHY or COMFY have acquired
secondary meaning in connection with bedding products – i.e., whether these terms
identify a single source of bedding products in the perceptions of relevant consumers.
Because The Comphy Co. characterizes itself as selling “high end” or “luxury”
products, I conducted the survey specifically among the segment of bedding purchasers
who are actual and prospective purchasers of bedding products in the higher price
ranges charged by The Comphy Co. for its products. This ensured that the survey
would measure any rate of association of the relevant terms with The Comphy Co.
among the specific segment of bedding consumers who are most likely to have
developed awareness of The Comphy Co. or its products. As discussed in more detail
below, the survey found a very low rate of association of the terms COMPHY or
COMFY with a single source, indicating that these terms have not acquired secondary



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meaning, even among the specific subset of bedding consumers who purchase bedding
products in the higher price ranges characteristic of The Comphy Co. products.


In the course of designing my surveys and preparing this report, I reviewed the
following materials: (1) Complaint; (2) The Comphy Co. website (comphy.com); (3)
Amazon.com. I also conducted various online searches for the terms COMPHY and
COMFY and for other terms that may be used generically or descriptively in connection
with bedding products (such as COMFORT) and examined the results of such searches.


The fee charged for my work on this matter through the design and completion of the
survey and this report is $50,000. Any additional work in connection with this matter is
being charged at my standard rate of $675 per hour. Payment is not contingent upon
the nature of my opinions or the outcome of any proceeding.




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STUDY AUTHORSHIP AND QUALIFICATIONS
This study was designed, supervised, and implemented by Hal L. Poret, President at
Hal Poret, LLC.


I have personally designed, supervised, and implemented over 1,000 surveys regarding
the perceptions and opinions of consumers. Over 300 have involved consumer
perception with respect to trademarks, and over 500 have been conducted online. I
have personally designed numerous studies that have been admitted as evidence in
legal proceedings and I have been accepted as an expert in survey research on
numerous occasions by U.S. District Courts, the Trademark Trial and Appeal Board,
and the National Advertising Division of the Council of Better Business Bureaus (NAD).


I am a member of the American Association of Public Opinion Research, publisher of
Public Opinion Quarterly and the Journal of Survey Statistics and Methodology; the
International Trademark Association; and the National Advertising Division of the
Council of Better Business Bureaus (NAD). I routinely conduct market research surveys
for a variety of small to large corporations and organizations.


I have frequently spoken at major intellectual property and legal conferences on the
topic of how to design and conduct surveys that meet legal evidentiary standards for
reliability, including conferences held by the International Trademark Association
(INTA), American Intellectual Property Law Association, Practicing Law Institute,
Managing Intellectual Property, Promotions Marketing Association, American
Conference Institute, and various bar organizations.


In addition to my survey research experience, I hold bachelors and masters degrees in
mathematics and a J.D. from Harvard Law School. Additional biographical material,
including lists of testimony and publications, is provided in Appendix A.



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STUDY DESIGN


A total of 600 respondents participated in this online survey among consumers of high-
end bedding products (sheets, pillowcases, pillows, blankets/comforters, etc). 1


The survey followed a standard format for measuring secondary meaning in which
respondents were shown a mark and were then asked a series of questions to assess
whether or not they associate the mark with a single source and, if so, which source.


The survey was composed of two Test Groups and one corresponding Control Group,
each comprised of 200 unique respondents.


The sole difference between each Group was the term shown to respondents.


One Test Group (the “Comphy Test Group”) saw the following term at issue:



       COMPHY


A second Test Group (the “Comfy Test Group”) saw the following term at issue:



       COMFY

Meanwhile, respondents in the Control Group saw the following control term:



       COMFORT
1
 See the Relevant Universe and Sampling section of this report for more information regarding
who qualified for and completed the survey.

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As discussed in more detail below, the Control Group established a baseline level of
survey noise by replacing the marks at issue with a control term that is not associated
with only one source. Specifically, showing a control term –i.e., COMFORT – to a
separate Group, controls for any general tendency of consumers to answer that a term
in connection with bedding is associated with one source even if the term, in fact, is not
associated with only one source. By measuring this “noise” level and subtracting it
from the gross Test Group secondary meaning rates, the survey can measure a “net”
secondary meaning level that can be reliably attributable to genuine consumer
recognition and association of the term(s) with a single source.


As this was an online survey, all instructions and questions were displayed on
respondents’ computer screens and each question appeared on its own screen.


                                  Comphy Test Group


First, upon completion of the screening questions, and prior to being shown the mark,
all 200 respondents in the Comphy Test Group were prompted as follows:


       On the next screen you will be shown a term that you may or may not have seen
       or heard before in connection with bedding products, such as sheets, pillowcases,
       pillows, blankets/comforters, or other bedding.

       You will be asked some questions about the term.

       For any question, if you have no opinion or do not know, then please indicate so.
       Please do not guess.



On the next screen, respondents were further instructed and shown the mark at issue:



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       Have you ever seen or heard the following term before in connection with any
       bedding product or products?


                      COMPHY
       (Select one choice)

       •   Yes, I have 2
       •   No, I have not
       •   Not sure/don’t know


The mark at issue continued to appear on all subsequent screens. For a mark to have
acquired secondary meaning, it must already be known to the respondent.


All respondents were then asked:


       Do you associate the following term with any particular company or companies,
       or brand or brands, that offer bedding products?

       (Select one choice)
       • Yes, I do 3
       • No, I do not
       • Don’t know/no opinion


Respondents who answered, “yes, I do,” were then asked:




2
  To avoid results bias due to response option order, the order in which the first two options
appeared was randomized so that half of all respondents saw the options in the order shown
here, while half saw the options with, “No, I have not,” listed first.
3
  To avoid results bias due to response option order, the order in which the first two options
appeared was randomized.

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       Do you associate the following term with…

       (Select one choice)

       •   Only one company or brand that offers bedding products 4
       •   More than one company or brand that offers bedding products
       •   Don’t know/no opinion


Respondents who answered “only one company or brand that offers bedding products”
were then asked:


       What company or brand do you associate the following term with?


Respondents could type in any answer or select, “don’t know.”


Respondents who selected “don’t know,” were then asked:


       What made you answer that you associate the following term with only one
       company or brand that offers bedding products?

       Please be as detailed and specific as you can.



Respondents could type in any answer.


                                      Comfy Test Group


A separate 200 unique respondents participated in the Comfy Test Group. These
respondents took a survey identical to those in the Comphy Test Group with the sole
exception that in lieu of the term COMPHY they were shown the term COMFY:




4
 To avoid results bias due to response option order, the order in which the first two options
appeared was randomized.

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       COMFY

All other aspects of the survey taken by respondents in the Comfy Test Group were
identical to those in the Comphy Test Group, detailed above.


                                     Control Group


As noted above, the survey included a Control Group, comprised of 200 unique
respondents.


The purpose of the Control Group is to measure survey noise – i.e., the tendency of
respondents to answer that they identify a mark with only one source of bedding for
reasons other than genuine recognition of the mark, such as guessing or other forms of
survey or respondent error.


The Control Group accounted for survey noise by showing a separate group of
respondents a control mark that is not associated with any one source, and then asking
the same questions that were asked of the Test Groups. Since all other aspects of the
survey were identical to that of the survey taken by respondents in the Test Groups, any
difference between the secondary meaning results in the Test Groups and the noise
result of the Control Group can be reliably attributed to actual association of the terms
COMPHY and COMFY with one source.


The Control Group took a survey identical to the Test Groups with the sole exception
that in lieu of the term COMPHY or COMFY, Control Group respondents were shown
the following control term:



       COMFORT
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In selecting a control, I sought to identify an alternate term (other than COMPHY or
COMFY) that also conveys the concept of bedding being comfortable, but that is not an
identifier of a single source. My online searches, in addition to my previous experience
doing consumer research with respect to bedding products, caused me to identify
COMFORT as an appropriate control term. The term COMFORT does not function as a
single-source identifier in connection with bedding. Rather, many different sources use
and have used the term COMFORT in connection with bedding products, including in
the names of companies/brands (such as Select Comfort, Personal Comfort, Elegant
Comfort, Comfort Spaces, and iComfort), in descriptions of bedding products (such as
Cozy Fleece Comfort Collection or Serta Comfort Sheet Set), or in slogans (such as The
Company Store’s “we’re all about comfort.”). As detailed further below, the survey
data empirically confirms that the term COMFORT is not associated with any one
source to any meaningful degree, as no more than a negligible number of respondents
named any particular source in connection with the term COMFORT. The term
COMFORT is an ideal control because any rate of respondents indicating that they
associate the term COMFORT with only one source of bedding products reflects the
level of survey noise, as COMFORT does not actually serve to identify only one source.


Screenshots of the survey are provided in Appendix C.




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SUMMARY OF KEY FINDINGS


This section details certain key survey findings. Other survey results are discussed
further in the Detailed Findings section below.


Only 13.0% of respondents answered that they associate the term COMPHY with only
one company or brand that offers bedding products.


Only 5.0% of respondents answered that they associate the term COMFY with only one
company or brand that offers bedding products.


These are low rates which, on their own, indicate that the terms COMPHY and COMFY
have not acquired a substantial degree of secondary meaning in the relevant
marketplace.


In the Control Group, 12.5% of respondents answered that they associate the term
COMFORT with only one company or brand that offers bedding products.


Since neither the 13.0% or 5.0% results for COMPHY and COMFY respectively exceed
the 12.5% noise level by a meaningful margin, the net secondary meaning levels for
COMPHY and COMFY are effectively zero.


Based on the survey results, it is my opinion that the terms COMPHY and COMFY have
not acquired a substantial degree of secondary meaning in the relevant marketplace.


See Detailed Findings section below for additional information on results. The full data
is provided in its original electronic form in Appendix D.




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METHODOLOGY

THE RELEVANT UNIVERSE OF INTEREST


The appropriate sample universe for this survey consisted of U.S. consumers age 18 and
older who have purchased bedding products (bed sheets, pillows, blankets, or other
bedding) in the past twelve months in the price ranges of products offered by The
Comphy Co., or are likely to consider doing so in the next twelve months.


The following screening questions were employed to ensure the final survey sample
was comprised of respondents from the appropriate sample universe.


First, after initial demographic questions, all potential respondents were asked:


      In the past 12 months, which of the following, if any, have you personally
      purchased?
      (Select all that apply)



The following table displays the list of randomized options available from which
respondents could select and the proportion of final respondents who selected each:


 Purchased in Past 12 Months
 N=600                                                           N              %
 Bed sheets, pillows, blankets, or other bedding                534           89.0%
 Towels, washcloths, bathmats, or other bath sheets             499           83.2%
 Clothes bins, storage units, hangers, or other
 organizers                                                     410           68.3%
 Kitchen blender, processor, crockpot, or other
 appliance                                                      363           60.5%
 Desktop, laptop, tablet, or other computer                     322           53.7%
 None of these                                                   11            1.8%




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In addition to bed sheets, pillows, blankets, or other bedding, other response options
were included to provide a variety of items from which respondents could select and to
mask the key topic of the survey.


Next, all potential respondents were asked:


      In the next 12 months, which of the following, if any, are you likely to consider
      purchasing?
      (Select all that apply)


The following table displays the list of randomized options available from which
respondents could select and the proportion of final respondents who selected each:


 Likely to Consider Purchasing in Next 12 Months
 N=600                                                           N             %
 Bed sheets, pillows, blankets, or other bedding                469          78.2%
 Towels, washcloths, bathmats, or other bath sheets             437          72.8%
 Clothes bins, storage units, hangers, or other
 organizers                                                     366          61.0%
 Kitchen blender, processor, crockpot, or other
 appliance                                                      350          58.3%
 Desktop, laptop, tablet, or other computer                     350          58.3%
 None of these                                                   33           5.5%



Respondents who answered that they have purchased or are likely to consider
purchasing “Bed sheets, pillows, blankets, or other bedding” were then asked a series of
questions regarding what price ranges they have paid or would consider paying for
various bedding products. First, respondents were asked:


      Which of the following price ranges have you paid or would you consider
      paying the next time you purchase a set of bed sheets?
      (Please select all that apply)




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The following table displays the options from which respondents could select and the
proportion of final respondents who selected each:


 Have Paid or Would Consider Paying for Bed Sheets
 N=600                                                         N             %
 Under $75                                                    256         42.7%
 $75 to $124.99                                               300         50.0%
 $125 to $174.99                                              197         32.8%
 $175 to $224.99                                              136         22.7%
 $225 to $274.99                                               74         12.3%
 $275 or more                                                  41          6.8%
 Don’t know/not sure                                            5          0.8%
 I have not purchased and do not plan to purchase a set
 of bed sheets                                                 0           0.0%




Next, these respondents were asked:


      Which of the following price ranges have you paid or would you consider
      paying the next time you purchase a set of pillowcases?
      (Please select all that apply)


The following table displays the options from which respondents could select and the
proportion of final respondents who selected each:


 Have Paid or Would Consider Paying for Pillowcases
 N=600                                                         N             %
 Under $15                                                    187         31.2%
 $15 to $24.99                                                303         50.5%
 $25 to $34.99                                                243         40.5%
 $35 to $44.99                                                168         28.0%
 $45 to $54.99                                                 97         16.2%
 $55 or more                                                   59          9.8%
 Don’t know/not sure                                            9          1.5%
 I have not purchased and do not plan to purchase a set
 of pillowcases                                                4           0.7%


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Next, respondents were asked:


      Which of the following price ranges have you paid or would you consider
      paying the next time you purchase a blanket or comforter?
      (Please select all that apply)


The following table displays the options from which respondents could select and the
proportion of final respondents who selected each:


 Have Paid or Would Consider Paying for a Blanket or Comforter
 N=600                                                       N               %
 Under $100                                                 198           33.0%
 $100 to $149.99                                            294           49.0%
 $150 to $199.99                                            237           39.5%
 $200 to $249.99                                            169           28.2%
 $250 to $299.99                                            106           17.7%
 $300 or more                                                60           10.0%
 Don’t know/not sure                                          7            1.2%
 I have not purchased and do not plan to purchase a
 blanket or comforter                                         5            0.8%


Respondents were then asked:


      Which of the following price ranges have you paid or would you consider
      paying the next time you purchase a pillow?
      (Please select all that apply)


The following table displays the options from which respondents could select and the
proportion of final respondents who selected each:



 Have Paid or Would Consider Paying for a Pillow
 N=600                                                         N            %
 Under $25                                                    191         31.8%
 $25 to $74.99                                                418         69.7%

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 $75 to $124.99                                                  199          33.2%
 $125 to $174.99                                                 109          18.2%
 $175 to $224.99                                                  76          12.7%
 $225 or more                                                     35           5.8%
 Don’t know/not sure                                               3           0.5%
 I have not purchased and do not plan to purchase a
 pillow                                                            1           0.2%




Respondents who selected at least one of the following product price ranges from this
question series were considered part of the relevant sample universe and qualified to
participate in the main survey:


   •   $125 or more for a set of bed sheets
   •   $25 or more for a set of pillowcases
   •   $100 or more for a blanket or comforter
   •   $25 or more for a pillow


This ensured that all respondents were actual or prospective purchasers of at least some
bedding products in the price ranges of products offered by The Comphy Co. By
narrowing the overall universe of bedding customers to the subset who are prospective
purchasers of the higher-priced products from The Comphy Co., the survey maximized
the likelihood of detecting secondary meaning – i.e., actual association of the terms at
issue with The Comphy Co. (or an unnamed single source).


The following table summarizes how many of the final 600 respondents met each of
these qualifying amounts:




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 Selected Qualifying Amount by Product
 N=600                                                           N               %
 $125 or more for a set of bed sheets                           266            44.3%
 $25 or more for a set of pillowcases                           347            57.8%
 $100 or more for a blanket or comforter                        510            85.0%
 $25 or more for a pillow                                       550            91.7%


As shown in the previous tables, many additional respondents answered that they have
paid or would consider paying even higher prices.


Upon completion of the main survey, respondents were also asked the following
question for classification purposes:


       We have just one more brief question. Do you or does anyone in your household
       work for any of the following?

       (Please select all that apply)


The following table displays the list of randomized response options available to
respondent and the proportion of final respondents that selected each:


 Employed in Related Field
 N=600                                                         N             %
 A company that makes bedding products                           7           1.2%
 A store that sells bedding products                            10           1.7%
 An advertising or market research company                       3           0.5%
 None of these                                                 584          97.3%

Excluding the 16 respondents who selected one of the above industries in response to
this question would not impact the results of my analysis or conclusions.


The actual wording of the screening questions used is shown in Appendix B.



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SAMPLING PLAN
The sampling plan involved a random selection of consumers who are part of an online
panel.


Online surveys are well-accepted in the field of survey research as a standard, reliable
methodology. Indeed, online surveys are now the most common method of conducting
market research among consumers. Businesses and other organizations routinely make
decisions of importance based on the results of online survey research among
consumers, and online surveys have been accepted in evidence in numerous U.S.
District Court cases. I have personally designed and executed numerous internet
surveys that have been accepted by courts.


The sample of panelists used in the survey was provided by Critical Mix, a leading
supplier of online sample for surveys. I have worked with Critical Mix on previous
surveys and have found its procedures and panels to be highly reliable. Critical Mix
has a large and diverse panel consisting of millions of participants and is highly
regarded as a reputable source of respondents for online surveys within the field of
market research. Critical Mix utilizes appropriate industry procedures for ensuring the
integrity and quality of its panels. Quality and integrity of Critical Mix research panels
are obtained and maintained in the following ways.
   •     It requires a double opt-in registration process, digital fingerprinting, and
         identity verification.
   •     It conducts matches against third-party databases and uses various techniques to
         identify speeders, flat-liners, and non-responders before they can enter a survey.
   •     Critical Mix uses a proprietary weighting system to continually evaluate its
         panelists’ responses as well as monitor their activity. Based upon this
         information, it can accurately determine which respondents are providing
         insightful answers and eliminate those who are suspect.



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   •   Critical Mix removes professional survey takers from its database by: comparing
       email addresses of all panel members to ensure respondents do not receive
       multiple survey invitations; maintaining a blacklist of bad respondents known to
       provide inaccurate data and preventing them from receiving surveys; using
       online reputation services that help detect if an IP address is home to a major
       spammer, thus enabling the exclusion of participation in a survey from that IP
       address.


The following table displays the final proportion of sample achieved by age and gender
for each Group:


 Final Number of Respondents by Age and Gender
 N=200 per Group                      Men                         Women
                              N               %              N              %
 18 – 34                     28             14.0%            44           22.0%
 35 – 54                     26             13.0%            52           26.0%
 55 and older                16             8.0%             34           17.0%


These proportions were achieved by observing the rates at which respondents in
various age groups met the screening criteria (as purchasers of higher-end bedding
products) and conforming the ending quota percentages proportionately. This
methodology for producing a representative sample of the relevant category (here,
consumers of bedding products in the price ranges of products offered by The Comphy
Co.) is standard and well-accepted.


Survey invitations were sent across the U.S. in geographic proportion to Census data.
The following table displays the final proportion of sample achieved by region:




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 Final Number of Respondents by Region
 N=600                                N                             %

 Midwest                              116                         19.3%
 Northeast                            128                         21.3%
 South                                92                          15.3%
 West                                 117                         19.5%
 Southeast                            147                         24.5%




DATA PROCESSING
Data was collected by Focus Vision, a company specializing in web survey
programming and data collection and processing. Data from the survey was made
available to Hal Poret, LLC through an electronic portal on an ongoing basis. The data
set showing respondents’ answers to all questions is provided in electronic form.


INTERVIEWING PROCEDURES
The online survey was programmed and hosted by Focus Vision. My staff and I
thoroughly tested the programmed survey prior to any potential respondents receiving
the invitation to participate in the survey.


DOUBLE-BLIND INTERVIEWING
The study was administered under “double-blind” conditions. That is, not only were
the respondents kept uninformed as to the purpose and sponsorship of the study, but
the services involved in providing the sample and administering the online interviews
(Focus Vision and Critical Mix) were similarly “blind” with respect to the study’s
purpose and sponsorship.


INTERVIEWING PERIOD
Interviewing was conducted from August 29, 2018 through September 4, 2018.

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QUALITY CONTROL
Several measures were implemented to ensure a high level of quality control and
validation with respect to respondents taking the survey.


Upon initially entering the survey, all respondents were required to pass a test to verify
that each respondent is a live person. The test employed in this survey is a CAPTCHA 5
program that generates a task that humans can pass but current computer programs
cannot. CAPTCHA is a well-known and widely-used tool in online survey research.


Upon successfully passing the CAPTCHA test, respondents were then asked to enter
their year of birth and then their gender. This information was checked against the
sample provider’s (Critical Mix’s) demographics on record for each respondent and any
respondent providing an incorrect or inconsistent birth year and/or gender was unable
to continue to the main survey.


Additionally, respondents were then asked to select their age range. Respondents who
selected an age range inconsistent with their year of birth were unable to continue with
the survey.


These combined steps ensured that the survey was being taken by an actual live person
and that each person was paying a certain level of attention to the survey questions and
taking a certain level of care in entering responses.


All respondents were also asked to select any web browsers or search engines they have
used in the past three months. Respondents could select as many as applied to them
from a list of ten options, including, “other,” “not sure” and one fictitious name:
Hagelin. Respondents who selected “Hagelin” were unable to continue. Additionally,


5 CAPTCHA is an acronym for “Completely Automated Public Turing test to tell computers

and Humans Apart.”

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respondents who answered that they have used all seven of the actual web browsers
and search engines included on the response list, were identified as “yea-sayers” and
unable to continue with the survey.6


The following question was also asked and permitted additional screening out of
respondents who were paying insufficient attention or clicking responses
indiscriminately:



       For quality assurance, please type the word "West" in the blank next to the
       "Other" box below and then click to continue.

              •     Strongly agree
              •     Agree
              •     Neutral
              •     Disagree
              •     Strongly disagree
              •     Other ________



Respondents who selected “other” and typed a response in the blank continued with
the survey. A review was conducted of all open-ended answers, including responses to
this question and respondents who failed to follow instructions for this question, or
gave other non-responsive or nonsense answers to open-ended questions were removed
from the final data.


Respondents were then also asked to carefully read these instructions:


*      Please take the survey in one session without interruption.




6
 “Yea-sayers” in surveys are typically defined as respondents who answer affirmatively to
questions, regardless of their belief.

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*     Please keep your browser maximized for the entire survey.

*     While taking the survey, please do not consult any other websites or other
      electronic or written materials.

*     Please answer all questions on your own without consulting any other person.

*     If you normally wear eye glasses or contact lenses when viewing a computer
      screen, please wear them for the survey.


Two options were provided in response to these instructions: 1) I understand and agree
to the above instructions, and 2) I do not understand or do not agree to the above
instructions. Only respondents who understood and agreed to the instructions then
continued to the main section of the survey.


Additionally, the survey program was set up in such a way as to restrict respondents
from taking the survey via mobile phones. This contributed to ensuring respondents
could easily and clearly view each question and corresponding response options.




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DETAILED FINDINGS



I.    Has Previously Seen or Heard of Term


The following table illustrates the percentage of respondents that answered that they
had seen or heard of the relevant term in each of the three Groups included in the
survey:


 HAS SEEN OR HEARD OF TERM BEFORE
 [Q205] Have you ever seen or heard the following term before in connection with
 any bedding product or products?
                         COMPHY                 COMFY               COMFORT
                         Test Group            Test Group          Control Group
                          (N=200)               (N=200)              (N=200)
                            27.5%                61.0%                79.5%
 Yes, I have
                              55                   122                  159
                            60.5%                29.0%                 9.5%
 No, I have not
                             121                    58                   19
 Not sure/don’t             12.0%                10.0%                11.0%
 know                         24                    20                   22


As this table indicates, the large majority of purchasers of bedding products in the
relevant price ranges have never seen or heard of the term COMPHY. Only 27.5%
answered that they have seen or heard of COMPHY.


61.0% of respondents answered that they have seen or heard of COMFY in connection
with bedding products.


The subsequent questions address the extent to which these terms are associated with
any particular source.



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II.   Associations of term with any source(s)


The following table displays the results to Question 210, inquiring as to whether or not
the respondents associate the relevant term with any particular company/companies or
brand(s):


 ASSOCIATES TERM WITH ANY PARTICULAR COMPANY OR BRAND
 [Q210] Do you associate the following term with any particular company or
 companies, or brand or brands, that offer bedding products?
                          COMPHY                 COMFY             COMFORT
                         Test Group             Test Group        Control Group
                           (N=200)               (N=200)             (N=200)
                            20.0%                 29.0%               39.0%
 Yes, I do
                              40                     58                 78
                            66.0%                 54.5%               48.0%
 No, I do not
                             132                    109                 96
 Don’t know/no              14.0%                 16.5%               13.0%
 opinion                      28                     33                 26



The following table shows the percentage of respondents in each Group who associate
the relevant term with only one source:


 ASSOCIATES WITH ONLY ONE, OR MORE THAN ONE COMPANY/BRAND
 [Q215] Do you associate the following term with…
                                        COMPHY      COMFY      COMFORT
                                        Test Group Test Group Control Group
                                         (N=200)    (N=200)     (N=200)
 Only one company or brand that           13.0%       5.0%       12.5%
 offers bedding products                     26         10          25
 More than one company or brand            5.5%      22.0%       25.0%
 that offers bedding products                11         44          50
                                           1.5%       2.0%        1.5%
 Don’t know/no opinion
                                              3          4           3
                                          80.0%      71.0%       61.0%
 Not asked
                                            160        142         122




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As the above table shows, in the Comphy Test Group, only 13.0% (26 out of 200) of
respondents answered that they associate the term COMPHY with only one company
or brand that offers bedding products.


Only 5.0% (10 out of 200) of respondents in the Comfy Test Group answered that they
associate the term COMFY with only one company or brand.


These results (13.0% and 5.0%) are low and indicate a lack of secondary meaning even
without accounting for survey noise.


Deducting the 12.5% noise rate at which the Control Group associated the control term
(COMFORT) with only one company or brand from the Test Group secondary meaning
rates, results in negligible net secondary meaning rates that are equivalent to zero:


 Net Secondary Meaning Rates – Associate with One Source
                                                        COMPHY                 COMFY
                                                               Test Group    Test Group
 Test Groups – associate mark with a single source                13.0%          5.0%
 Control Group - associate control with a single source           12.5%         12.5%
 Net Secondary Meaning results                                     0.5%         (7.5%)


It is also worth noting that in the Comphy Test Group, only 8.0% of respondents (16 out
of 200) had seen or heard the term COMPHY before in connection to bedding and also
associate it with only one company or brand.


In the Comfy Test Group, only 3.0% (6 out of 200) had seen or heard the term COMPHY
before in connection to bedding and also associate it with only one company or brand:




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 ASSOCIATE TERM WITH ONLY ONE COMPANY AND HAD PREVIOUSLY
 SEEN/HEARD THE TERM
                                                   COMPHY      COMFY
                                                   Test Group Test Group
                                                    (N=200)    (N=200)
 Has seen or heard of before AND associates with      8.0%       3.0%
 only one company or brand                              16          6
 Has seen or heard of before AND associate with       4.5%      20.0%
 more than one company or brand                          9         40
 Has seen or heard before AND does not associate
 with any particular company or brand, or does not   15.0%      38.0%
 know/no opinion                                        30         76
 Has not seen or heard of term before, or is not     72.5%      39.0%
 sure/does not know                                    145         78



These low figures further confirm that the terms have not acquired secondary meaning.


I also looked at results among subgroups of respondents who identified in the screening
criteria that they have paid or would consider paying certain higher prices for each type
of product. The following table displays the proportion of respondents in each
subgroup that associate the term they were shown with only one company or brand:


 ASSOCIATES WITH ONLY ONE COMPANY/BRAND –
 Results by Subgroup
  Associates with only one
 company or brand that offers       COMPHY           COMFY               COMFORT
 bedding products:                 Test Group      Test Group          Control Group
                                      22.5%           10.4%                17.0%
 Spends $125 or more for sheets
                                  (20 out of 89)   (8 out of 77)       (17 out of 100)
 Spends $25 or more for               16.1%            8.0%                16.4%
 pillowcases                     (18 out of 112)  (9 out of 113)       (20 out of 122)
 Spends $100 or more for a            14.8%            5.3%                12.8%
 blanket or comforter            (25 out of 169)  (9 out of 169)       (22 out of 172)
                                      13.6%            5.5%                12.4%
 Spends $75 or more for a pillow
                                 (25 out of 184) (10 out of 181)       (23 out of 185)




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As this table shows, even among the subset of respondents who answered that they
would pay higher prices (consistent with The Comphy Co. prices) for various bedding
products, the Test Group rates of associating the terms COMPHY or COMFY with only
one source do not meaningfully exceed the Control Group noise levels. This further
confirms that the terms COMPHY and COMFY have not acquired a substantial degree
of secondary meaning even among the subset of bedding purchasers who purchase
bedding products in high enough price ranges to make them prospective purchasers of
products from The Comphy Co.


III.   Association With Only One Source and Identification of The Comphy Co.


The following table illustrates the proportion of respondents in each Test Group who
answered that they associate the term COMPHY or COMFY with only one company or
brand and then specifically named COMPHY as that company/brand:


 ASSOCIATES WITH ONLY ONE COMPANY/BRAND AND NAMED COMPHY
 AS THAT COMPANY/BRAND
 N=200 per Group
 COMPHY                                           5.0%
 Test Group                                  (10 out of 200)
 COMFY                                            0.0%
 Test Group                                   (0 out of 200)


The fact that only 5.0% of respondents answered that they associated “COMPHY” with
one source and specifically named The Comphy Co. (or the Comphy brand) as that
source (and that 0% did so for COMFY) further supports the conclusion that these terms
have not acquired a substantial degree of secondary meaning.


IV.    Conclusions




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Based on the survey results, it is my opinion that the terms COMPHY and COMFY have
not acquired secondary meaning among prospective purchasers of bedding products,
including bedding products in the higher price ranges offered by The Comphy Co.




                                Dated: October 24, 2018




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              APPENDIX A
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Hal L. Poret (hal.inc42@gmail.com; 914-772-5087)

Education
1998          Harvard Law School, J.D., cum laude
               Editor/Writer – Harvard Law Record
               Research Assistant to Professor Martha Minow
1995          S.U.N.Y. Albany, M.A. in Mathematics, summa cum laude
               Statistics
               Taught calculus/precalculus/statistics
1993          Union College, B.S. in Mathematics with honors, magna cum laude
               Phi Beta Kappa
               Resch Award for Achievement in Mathematical Research


Employment
2016 -        President, Hal Poret LLC
               Design, supervise, and analyze consumer surveys, including
                 Trademark, Trade Dress, Advertising Perception, Consumer
                 Deception, Claims Substantiation studies, Damages, and Corporate
                 Market Research Surveys
               Consulting regarding survey design and review of other surveys
               Provided expert testimony at deposition and/or trial regarding survey
                 research in over 100 U.S. District Court litigations and proceedings in
                 front of TTAB, NAD, FTC and FCC.

2004 - 2015 Senior Vice President, ORC International
             Designed, supervised, and analyzed consumer surveys in legal and
               corporate market research areas, and provided expert testimony
               regarding survey research in legal cases.

2003 – 2004   Internet Sports Advantage
               Developed and marketed proprietary internet sports product, and
                  licensed trademark and intellectual property rights.

1998 – 2003 Attorney, Foley Hoag & Eliot, Boston, MA
             Represented corporations and individuals in trademark, trade dress,
               advertising, product, and related legal disputes.
             Worked with survey experts in developing and using surveys as
               evidence in trademark, trade dress and advertising disputes.
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Testimony at Trial or by Deposition Past 4 Years

(Party who retained me shown in bold)

2018 MZ Wallace v. Oliver Thomas
     (Deposition)                             USDC Southern District of NY

2018   Wing Enterprises v. Tricam Industries, Inc.
       (Deposition)                            USDC District of MN

2018   Kjaer Weis v. Kimsaprincess, Inc.
       (Deposition)                           USDC Central District of CA

2018   In re: NCAA Grant-in-Aid Cap Litigation
       (Deposition; Trial)                   USDC Northern District of CA

2018   Under Armour v. Battle
       (Deposition)                           USDC District of Maryland

2018 Federal Trade Commission v. D-Link Systems
     (Deposition)                         USDC Northern District of CA

2018   Ezaki Glico v. Lotte International
       (Deposition)                           USDC District of NJ

2018 Car Freshener Corporation v. American Covers/Energizer Holdings
     (Deposition)                          USDC Northern District of NY

2018   Combe v. Dr. August Wolff
       (Deposition)                           USDC Eastern District of VA

2018   In Re GM Ignition Switch Litigation
       (Deposition)                           USDC Southern District of NY

2018 Zetor v. Ridgeway
     (Trial Testimony Deposition)             USDC Western District of AR

2018 Superior Consulting v. Shaklee
     (Deposition; Hearing; Trial)             USDC Middle District of FL

2018 Monster Energy Company v. Integrated Supply Network
     (Deposition)                         USDC Central District of CA
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2018 Sandoz v. GlaxoSmithkline
     (Deposition)                            USPTO Opposition

2018   JB-Weld v. Gorilla Glue Company
       (Deposition)                          USDC Northern District of GA

2018 Bratton v. The Hershey Company
     (Deposition)                            USDC Western District of MO

2018   Leadership Studies v. Blanchard Training & Development
       (Deposition)                           USDC Southern District of CA

2017   Gulfstream Aerospace v. Gulfstream Unsinkable Boats
       (Deposition)                         USPTO Opposition/Cancellation

2017   Mercado Latino v. Indio
       (Deposition)                          USDC Central District of CA

2017 Delalat v. Nutiva
     (Deposition)                            USDC Northern District of CA

2017   Dashaw v. New Balance
       (Deposition)                          USDC Southern District of CA

2017   Bearing Tech v. O’Reilly Automotive
       (Deposition)                          USDC Western District of MO

2017   Soundview v. Facebook
       (Deposition)                          USDC District of Delaware

2017   Rovi v. Comcast
       (Deposition)                          USDC Southern District of NY

2017   Puma v. Black & Decker
       (Trial)                               New Mexico Circuit Court

2017   Select Comfort v. Personal Comfort
       (Trial and Deposition)                USDC District of Minn

2017   Alzheimer’s Foundation of America v. Alzheimer’s Association
       (Deposition and trial)               USDC Southern District of NY

2017   Banc of California v. Farmers & Merchants Bank
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       (Deposition)                             USDC Central District of CA

2017 PolyGroup v. Willis Electric
     (Deposition)                               Patent Trial and Appeal Board

2017 Mullins v. Premier Nutrition            USDC Northern District of CA
     (Depositions in Class Cert and Merits phases)

2017   Lion’s Gate v. TD Ameritrade
       (Deposition)                             USDC Central District of CA

2017   Deere & Company v. Fimco dba Schaben
       (Deposition and trial)             USDC Western District of KY

2017   Adidas & Reebok v. TRB
       (Deposition)                             USDC District of Oregon

2017   Church & Dwight v. SPD                    USDC Southern District of NY
       (Deposition/trial in liability phase; deposition/trial in damages phase)

2017 In re: Coca Cola Marketing and Sales Practices Litigation (No. II)
     (Deposition)                            USDC Northern District of CA

2017   Ducks Unlimited v. Boondux LLC and Caleb Sutton
       (Deposition and Trial)              USDC Western District of TN

2017   Globefill v. Element Spirits
       (Deposition and Trial)                   USDC Central District of CA

2017 Brickman v. Fitbit
     (Deposition)                               USDC Northern District of CA

2017   Network-1 Technologies v. Alcatel-Lucent et al.
       (Deposition)                          USDC Eastern District of TX

2017   Health Partner Plans v. Reading Health Partners
       (Deposition and Injunction hearing)    USDC Eastern District of PA

2017 In Re Biogen ‘755 Patent Litigation
     (Deposition)                               USDC District of NJ

2017   Cava Mezze v. Mezze Mediterranean Grill
       (Trial)                             USDC District of MD
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2017   Mastrandrea v. Vizio
       (Deposition)                             USDC Central District of CA

2017   Adidas v. Skechers
       (Deposition and Injunction hearing)      USDC District of OR

2016   Triumph International, Inc. v. Gourmetgiftbaskets.com, Inc.
       (Deposition)                          USDC Central District of CA

2016 Phelan Holdings v. Rare Hospitality Management
     (Deposition)                          USDC Middle District of FL

2016   Intellectual Ventures II v. AT&T Mobility
       (Deposition)                           USDC District of DE

2016   One World Foods v. Stubbs Austin Restaurant Company
       (Deposition)                         USDC Western District of TX

2016   Booking.com B.V. v. Michelle Lee
       (Deposition)                             USDC Eastern District of VA

2016   Variety Stores v. Walmart Stores, Inc.
       (Trial)                                  USDC Eastern District of NC

2016   American Cruise Lines v. American Queen Steamboat Company
       (Deposition)                         USDC District of DE

2016   Universal Church v. Univ. Life Church
       (Deposition)                          USDC Southern District of NY

2016   U. of Houston v. Houston Col. of Law
       (Deposition)                             USDC Southern District of TX

2016 Navajo Nation v. Urban Outfitters
     (Daubert Hearing)                          USDC District of NM

2016   Beaulieu v. Mohawk Carpet Dist.
       (Deposition)                             USDC Northern District of GA

2016 Efficient Frontiers v. Reserve Media
     (Deposition)                               USDC Central District of CA
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2016   McAirlaids v. Medline Industries
       (Deposition)                         USDC Eastern District of VA

2016   Under Armour v. Ass Armor
       (Deposition)                         USDC Southern District of FL

2016   C5 & CoorsTek v. CeramTec
       (Deposition and trial)               USDC District of Colorado

2016   BBC v. Stander
       (Deposition)                         USDC Central District of CA

2016   Caterpillar v. Tigercat
       (Deposition)                         USPTO Opposition

2016   Premier v. Dish Network
       (Deposition)                         USPTO Opposition

2016   Omaha Steaks v. Greater Omaha
       (Rebuttal Testimony)                 USPTO Opposition

2016   EMC v. Pure Storage
       (Deposition)                         USDC District of MA

2016   Top Tobacco v. North Atlantic
       (Deposition)                         USPTO Opposition

2016 Ascension Health v. Ascension Ins.
     (Deposition)                           USDC Eastern District of MO

2016   Quoc Viet v. VV Foods
       (Deposition and trial)               USDC Central District of CA

2016   Joules v. Macy’s Merchandising Group
       (Deposition and trial)               USDC Southern District of NY

2015   MMG v. Heimerl & Lammers
       (Deposition and trial)               USDC District of MN

2015   PRL USA v. Rolex
       (Deposition)                         USDC Southern District of NY

2015 Bison Designs v. Lejon
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       (Deposition)                        USDC District of CO

2015   Barrera v. Pharmavite
       (Deposition)                        USDC Central District of CA

2015   Flowers v. Bimbo Bakeries
       (Deposition)                        USDC Middle District of GA

2015 Razor USA v. Vizio
     (Deposition)                          USDC Central District of CA

2015 Allen v. Simalasan
     (Deposition)                          USDC Southern District of CA

2015   BMG Rights Mgmt. v. Cox Enterprises
       (Deposition and trial)              USDC Eastern District of VA

2015 Verisign v. XYZ.COM LLC
     (Deposition)                          USDC Eastern District of VA

2015   Farmer Boys v. Farm Burger
       (Deposition)                        USDC Central District of CA

2015 Ono v. Head Racquet Sports
     (Deposition)                          USDC Central District of CA

2015   Select Comfort v. Tempur Sealy
       (Deposition)                        USDC District of Minn

2015 ExxonMobil v. FX Networks
     (Deposition)                          USDC Southern District of TX

2015   Delta v. Network Associates
       (Deposition)                        USDC Middle District of FL

2015 Brady v. Grendene
     (Deposition)                          USDC Central District of CA

2015   Zippo v. LOEC
       (Deposition)                        USDC Central District of CA

2015 Maier v. ASOS
     (Deposition)                          USDC District of Maryland
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2015   Converse In re: Certain Footwear
       (Deposition and trial)                   International Trade Commission

2014 Scholz v. Goudreau
     (Deposition)                               USDC District of Mass

2014   Economy Rent-A-Car v. Economy Car Rentals
       (TTAB Testimony)                   USPTO

2014   Weber v. Sears
       (Deposition)                             USDC Northern District of IL

2014   Native American Arts v. Stone
       (Deposition)                             USDC Northern District of IL

2014   Gravity Defyer v. Under Armour
       (Trial)                                  USDC Central District of CA

2014   Adams v. Target Corporation
       (Deposition)                             USDC Central District of CA

2014   PODS v. UHAUL
       (Deposition and trial)                   USDC Middle District of FL

2014   Flushing v. Green Dot Bank
       (Deposition)                             USDC Southern District of NY

2014   Amy’s Ice Creams v. Amy’s Kitchen
       (Deposition)                             USDC Western District of TX

2014   Unity Health v. UnityPoint
       (Deposition)                             USDC Western District of WI

2014   In re: NCAA Student-athlete litigation
       (Deposition and Trial)                   USDC Northern District of CA

2014   Spiraledge v. SeaWorld
       (Deposition)                             USDC Southern District of CA

2014   Diageo N.A. v. Mexcor
       (Deposition and trial)                   USDC Southern District of TX
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2014   Pam Lab v. Virtus Pharmaceutical
       (Deposition and trial)                USDC Southern District of FL

2014   US Soccer Federation v. Players Ass’n
       (Arbitration Testimony)               Arbitration

2014   Estate of Marilyn Monroe v. AVELA
       (Deposition)                          USDC Southern District of NY

2014 Kelly-Brown v. Winfrey, et al.
     (Deposition)                            USDC Southern District of NY

2014 Virco Mfg v. Hertz & Academia
     (Deposition)                            USDC Central District of CA

2014 In re: Hulu Privacy Litigation
     (Deposition)                            USDC Northern District of CA


Presentations

What's New in Advertising Law, Claim Support and Self-Regulation?
(ABA Seminar, November 17, 2015)

How Reliable is Your Online Survey
(2015 ASRC Annual Conference, September 29, 2015)

What Do Consumers Think? Using Online Surveys to Demonstrate Implied Claims
(ANA Advertising Law and Public Policy Conference, April 1, 2015)

Cutting Edge Developments in Trademark Surveys (Rocky Mountain Intellectual
Property & Technology Institute, May 30, 2013)

Using Survey Experts in Trademark Litigation (DRI Intellectual Property Seminar, May
9, 2013)

Surveys in Trademark and Advertising Litigation (2013 National CLE Conference,
Snowmass Colorado, January 2013)

Internet Survey Issues (PLI Hot Topics in Advertising Law Conference, March 2012)

Measuring Consumer Confusion Through Online Surveys (2011 Midwest IP Institute)
(September, 2011)
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Online Surveys as Evidence in Trademark Disputes (International Trademark
Association Annual Conference, May 2011)

Managing Intellectual Property Trademark Roundtable (April 7, 2010)

Recent Trends in Trademark Surveys (Virginia State Bar Intellectual Property
Conference, October 2009)

Trademark Surveys in US Litigation (presentation for International Trademark
Association Annual Conference) (May 2009)

How to Conduct Surveys for use in Trademark Disputes (Practicing Law Institute
Advanced Trademark Law Conference) (May 2009)

Trademark and Advertising Perception Studies for Legal Disputes (Opinion Research
Corporation Seminar, June 2008)

Understanding Advertising Perception Surveys (Promotions Marketing Association
Annual Law Conference) (November 2007)

Designing and Implementing Studies to Substantiate Advertising Claims (American
Conference Institute Claims Substantiation Conference, October 2007)

Surveys in Trademark and False Advertising Disputes (InfoUSA Webinar, June 2007)

Measuring Consumer Perception in False Advertising and Trademark Cases, (multiple
presentations) (2007)

Potential Errors to Avoid In Designing a Trademark Dilution Survey (American
Intellectual Property Association paper, April 2007)

Consumer Surveys in Trademark and Advertising Cases (presentation at Promotions
Marketing Association Annual Law Conference) (December 2006)

Use of Survey Research and Expert Testimony in Trademark Litigation, (International
Trademark Association Annual Conference, May 2006)

Survey Research as Evidence in Trademark/Trade Dress Disputes (multiple
presentations) (2006)

Using Surveys to Measure Secondary Meaning of Trade Dress, Legal Education
Seminar, Boston, April 2006
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Publications/Papers

Cutting Edge Developments in Trademark Surveys (Rocky Mountain Intellectual
Property & Technology Institute, May 2013)

Hot Topics and Recent Developments in Trademark Surveys (paper for May 2013 DRI
Intellectual Property Conference)

Surveys in Trademark and Advertising Litigation (2013 National CLE Conference,
Snowmass Colorado, January 2013)

Trademark Litigation Online Consumer Surveys (Practical Law Company Intellectual
Property and Technology, May 2012)

Hot Topics in Advertising Law 2012 (Contributor to Practising Law Institute
publication)

A Comparative Empirical Analysis of Online Versus Mall and Phone Methodologies for
Trademark Surveys, 100 TMR 756 (May-June 2010)

Recent Trends in Trademark Surveys (paper for Virginia State Bar Intellectual Property
conference, October 2009)

Trademark Dilution Revision Act breathes new life into dilution surveys (In Brief PLI
website, June 2009)

The Mark (Survey Newsletter; three editions 2009)

Hot Topics in Trademark Surveys (paper for Practicing Law Institute Advanced
Trademark Law Conference) (May 2009)

The Mark (Survey Newsletter, 2008)

Trademark and Advertising Survey Report (Summer 2007)

Avoiding Pitfalls in Dilution Surveys under TDRA (AIPLA Spring Conference, Boston,
May 2007)


Commentary
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Comment on Hotels.com case (on TTABLOG.COM, July 24, 2009)

Comment on Nextel v. Motorola (on TTABLOG.COM, June 19, 2009)

PLI All-Star Briefing Newsletter, “What does the Trademark Dilution Revision Act
mean for the future of Dilution Surveys?” (June 2009)




Professional Memberships/Affiliations

American Association of Public Opinion Research

International Trademark Association

National Advertising Division of Council of Better Business Bureaus
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              APPENDIX B
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                               Appendix B: Secondary Meaning Questionnaire


SCREENER

BASE: ALL RESPONDENTS
Q99 Insert Captcha [HIDE “YOU ARE HUMAN” SCREEN]

BASE: ALL RESPONDENTS
Q100. Please select your year of birth. [PROGRAMMER: DROP DOWN
      MENU. TERMINATE IF DOES NOT MATCH PANELIST’S
      PRELOAD.]

ASK IF: HAS NOT TERMINATED
Q105 Are you… [CHECK AGAINST PANEL VARIABLE AND TERMINATE
     IF IT DOES NOT MATCH]
  1. Male [PROGRAMMER: FOR PANEL VARIABLE PLEASE ASSIGN
     VALUE OF “1” FOR MALE]
  2. Female [PROGRAMMER: FOR PANEL VARIABLE PLEASE ASSIGN
     VALUE OF “2” FOR FEMALE]

ASK IF: HAS NOT TERMINATED
Q107 Which of these age ranges includes your age?
     [TERMINATE IF UNDER 18 OR AGE RANGE NOT POSSIBLE BASED
     ON YEAR OF BIRTH ENTERED IN Q100. NOTE – Each respondent can
     have two possible ages depending on if respondent’s birthday has
     passed.]
         1. Under 18 [TERMINATE]
         2. 18-34
         3. 35-54
         4. 55 or older




                                                                        1
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                                        Appendix B: Secondary Meaning Questionnaire



BASE: ANY NON-TERMINATES
Q109 Which of the following web browsers or search engines, if any, have you
     used in the past 3 months?

       Please select all that apply.
       [RANDOMIZE]
          1. Google Chrome
          2. Internet Explorer
          3. Microsoft Edge
          4. Bing
          5. Yahoo
          6. Firefox
          7. Opera
          8. Hagelin
          9. Other [ANCHOR]
          10. Not sure [ANCHOR; EXCLUSIVE]

[Terminate if selects 109/8 or if selects all of 109/1-7]

ASK IF: HAS NOT TERMINATED
Q110 In what state do you live?
     [PROGRAMMER: Drop down menu of states plus D.C. Include an
     option for “Other” and terminate if it is selected.]

ASK IF: HAS NOT TERMINATED
Q120 In the past 12 months, which of the following, if any, have you personally
     purchased?
      (Select all that apply)
     [RANDOMIZE]
  1. Bed sheets, pillows, blankets, or other bedding
  2. Towels, washcloths, bathmats, or other bath sheets
  3. Clothes bins, storage units, hangers, or other organizers
  4. Kitchen blender, processor, crockpot, or other appliance
  5. Desktop, laptop, tablet, or other computer
  6. None of these [ANCHOR; EXCLUSIVE]

ASK IF: HAS NOT TERMINATED
Q130 In the next 12 months, which of the following, if any, are you likely to
     consider purchasing?
      (Select all that apply)
     [REPEAT SAME LIST OF OPTIONS AS SHOWN IN Q120 IN SAME
     ORDER]


                                                                                  2
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                                    Appendix B: Secondary Meaning Questionnaire



[MUST SELECT AT LEAST ONE OF Q120=1, Q130=1 (BEDDING) TO
CONTINUE; OTHERWISE, TERMINATE.]


ASK IF: 120=1 AND/OR 130=1
Q140 Which of the following price ranges have you paid or would you consider
     paying the next time you purchase a set of bed sheets?

      (Please select all that apply)
      1. Under $75
      2. $75 to $124.99
      3. $125 to $174.99
      4. $175 to $224.99
      5. $225 to $274.99
      6. $275 or more
      7. Don’t know/not sure [ANCHOR; EXCLUSIVE]
      8. I have not purchased and do not plan to purchase a set of bed sheets
          [ANCHOR; EXCLUSIVE]

ASK IF: 120=1 AND/OR 130=1
Q150 Which of the following price ranges have you paid or would you consider
     paying the next time you purchase a set of pillowcases?

      (Please select all that apply)
      1. Under $15
      2. $15 to $24.99
      3. $25 to $34.99
      4. $35 to $44.99
      5. $45 to $54.99
      6. $55 or more
      7. Don’t know/not sure [ANCHOR; EXCLUSIVE]
      8. I have not purchased and do not plan to purchase a set of pillowcases
          [ANCHOR; EXCLUSIVE]




                                                                                 3
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                                    Appendix B: Secondary Meaning Questionnaire


ASK IF: 120=1 AND/OR 130=1
Q155 Which of the following price ranges have you paid or would you consider
     paying the next time you purchase a blanket or comforter?

      (Please select all that apply)
      1. Under $100
      2. $100 to $149.99
      3. $150 to $199.99
      4. $200 to $249.99
      5. $250 to $299.99
      6. $300 or more
      7. Don’t know/not sure [ANCHOR; EXCLUSIVE]
      8. I have not purchased and do not plan to purchase a blanket or
          comforter [ANCHOR; EXCLUSIVE]


ASK IF: 120=1 OR 130=1
Q160 Which of the following price ranges have you paid or would you consider
     paying the next time you purchase a pillow?

      (Please select all that apply)
      1. Under $25
      2. $25 to $74.99
      3. $75 to $124.99
      4. $125 to $174.99
      5. $175 to $224.99
      6. $225 or more
      7. Don’t know/not sure [ANCHOR; EXCLUSIVE]
      8. I have not purchased and do not plan to purchase a pillow [ANCHOR;
          EXCLUSIVE]

[MUST SELECT AT LEAST ONE OF THE FOLLOWING TO CONTINUE;
OTHERWISE, TERMINATE:
Q140 = 3-6 ($125+)
Q150= 3-6 ($25+)
Q155 = 2-6 ($100+)
Q160 = 2-6 ($25+)]




                                                                             4
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                                     Appendix B: Secondary Meaning Questionnaire



ASK IF: HAS NOT TERMINATED
Q170 For quality assurance, please type the word "West" in the blank next to the
     "Other" box below and then click to continue.

             1.   Strongly agree
             2.   Agree
             3.   Neutral
             4.   Disagree
             5.   Strongly disagree
             6.   Other ________ [DO NOT FORCE TEXT BOX]

[TERMINATE IF SELECTED 170/1-5 OR DOES NOT TYPE IN AN ANSWER.
i.e. MUST SELECT r6 AND TYPE SOMETHING IN TO CONTINUE.]

ASK IF: HAS NOT TERMINATED
Q180 You have qualified to take this survey. Before continuing, please carefully
     read these instructions:

*     Please take the survey in one session without interruption.

*     Please keep your browser maximized for the entire survey.

*     While taking the survey, please do not consult any other websites or other
      electronic or written materials.

*     Please answer all questions on your own without consulting any other
      person.

*     If you normally wear eye glasses or contact lenses when viewing a
      computer screen, please wear them for the survey.

          1. I understand and agree to the above instructions
          2. I do not understand or do not agree to the above
             instructions [TERMINATE]

[ONLY QUALIFIED RESPONDENTS BEYOND THIS POINT. EACH
RESPONDENT SHOULD BE ASSIGNED TO ONE CELL.
RANDOMIZE CELL ASSIGNMENT, BUT PRIORITIZE BASED ON
NEED TO MEET AGE/GENDER QUOTAS.]

[PROGRAMMING NOTE: DISPLAY ANY TEXT WITH ITS OWN
QUESTION NUMBER ON A SCREEN BY ITSELF]


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                                    Appendix B: Secondary Meaning Questionnaire



MAIN SURVEY

BASE: ALL QUALIFIED RESPONDENTS
Q200 On the next screen you will be shown a term that you may or may not
     have seen or heard before in connection with bedding products, such as
     sheets, pillowcases, pillows, blankets/comforters, or other bedding.

      You will be asked some questions about the term.

      For any question, if you have no opinion or do not know, then please
      indicate so. Please do not guess.

BASE: ALL QUALIFIED RESPONDENTS
Q205. Have you ever seen or heard the following term before in connection with
      any bedding product or products?

      [PROGRAMMER: INCLUDE 2 LINE SPACES AND INDENT AND
      INSERT THE FOLLOWING TERM ACCORDING TO CORRECT
      CELL:

                   IF CELL 1:
                   COMPHY
                   IF CELL 2:
                   COMFY
                   IF CELL 3:
                   COMFORT

      [Display the following beneath the term. Randomize whether list is
      shown 1/2/3 or 2/1/3]
      (Select one choice)
      1. Yes, I have
      2. No, I have not
      3. Not sure/don’t know [ANCHOR]


BASE: ALL QUALIFIED RESPONDENTS




                                                                                 6
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                                      Appendix B: Secondary Meaning Questionnaire


210.   Do you associate the following term with any particular company or
       companies, or brand or brands, that offer bedding products?
       [PROGRAMMER: Display same term as in 205]

       [Display the following beneath the term. Randomize whether list is
       shown 1/2/3 or 2/1/3]
       (Select one choice)
       1. Yes, I do
       2. No, I do not
       3. Don’t know/no opinion

BASE: 210=1
215  Do you associate the following term with…
     [PROGRAMMER: Display same term as in 205]

       [Display the following beneath the term. Randomize whether list is
       shown 1/2/3 or 2/1/3]
       (Select one choice)
       1. Only one company or brand that offers bedding products
       2. More than one company or brand that offers bedding products
       3. Don’t know/no opinion [ANCHOR]


BASE: 215=1
220  What company or brand do you associate the following term with?

       [PROGRAMMER: Display same term as in 205]

       [Programmer: provide text box and “don’t know” button. Force text or
       DK, but do not allow both.]


BASE: Q220=Don’t know
230  What made you answer that you associate the following term with only
     one company or brand that offers bedding products?

       [PROGRAMMER: Display same term as in 205]

       Please be as detailed and specific as you can.
       (Programmer: insert large text box)


BASE: ALL QUALIFIED RESPONDENTS



                                                                               7
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                                    Appendix B: Secondary Meaning Questionnaire


300.   We have just one more brief question. Do you or does anyone in your
       household work for any of the following?

       (Please select all that apply)
       [RANDOMIZE]
       1. A company that makes bedding products
       2. A store that sells bedding products
       3. An advertising or market research company
       4. None of these [ANCHOR; EXCLUSIVE]




                                                                             8
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              APPENDIX C
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                                           Appendix C: Survey Screenshots


SCREENER

Q99




Q100




Q105




                                                                       1
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Q107




Q109




Q110




                                                                       2
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Q120




Q130




                                                                       3
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Q140




Q150




                                                                       4
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Q155




Q160




                                                                       5
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Q170




Q180




                                                                       6
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MAIN SURVEY

Q200




CELL 1 – COMPHY

Q205




                                                                       7
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                                           Appendix C: Survey Screenshots


Q210




Q215




Q220




                                                                       8
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Q230




CELL 2 – COMFY

Q205




                                                                       9
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                                           Appendix C: Survey Screenshots


Q210




Q215




                                                                      10
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Q220




Q230




                                                                      11
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CELL 3 – COMFORT

Q205




Q210




                                                                      12
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Q215




Q220




                                                                      13
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Q230




ALL CELLS

Q300




                                                                      14
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                      Native File
